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 2
                                 IN THE UNITED STATES DISTRICT COURT
 3
                                    EASTERN DISTRICT OF CALIFORNIA
 4

 5   UNITED STATES OF AMERICA,                           CASE NO. 1:11-CR-00354 LJO

 6                                Plaintiff,             ORDER ON THE GOVERNMENT’S MOTION TO
                                                         DISMISS DEFENDANT JONAS MARTINEZ
 7                          v.                           FROM THE INDICTMENT

 8   JONAS MARTINEZ,

 9                                Defendants.

10

11          IT IS HEREBY ORDERED that the charges as to Jonas Martinez, only, in the above-entitled

12 case be dismissed without prejudice, in the interest of justice.

13
     IT IS SO ORDERED.
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15      Dated:     May 7, 2015                               /s/ Lawrence J. O’Neill
                                                       UNITED STATES DISTRICT JUDGE
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      ORDER                                              1
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